Case 8:15-cr-00353-S_B-AEP Document 154 Filed 01/12/17 Page 1 of 2 PageID 654




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION



UNITED STATES OF AMERICA

v.                                                          CASE NO: 8:15-CR-353-T-24AEP

YONIS TORRES-BELLO
                                        /


                                            ORDER

       THIS CAUSE comes before this Court on Defendant’s Motion to Reduce Sentence

(Dkt.152) under 18 U.S.C. § 3582(c)(2) based on USSG Amendment 782, a retroactive guideline

amendment. See USSG § 1B1.10(d) (November 1, 2014). The Motion is DENIED.

       Defendant was sentenced on March 15, 2016 after the November 1, 2014 effective date

of Amendment 782. The Court considered the Guideline made effective by Amendment 782

when it imposed sentence on March 15, 2016. At sentencing, Defendant was held accountable

for 959 kilograms of cocaine. His base offense level was 38. After Amendment 782 under

section 2D1.1©, possession of 959 kilograms or more of Cocaine is still a level 38 Therefore,

the amendment was considered at the time of sentencing.

       ACCORDINGLY, it is ORDERED AND ADJUDGED that Defendant’s motion is

DENIED.

       DONE AND ORDERED at Tampa, Florida, on the 12th day of January, 2017.
Case 8:15-cr-00353-S_B-AEP Document 154 Filed 01/12/17 Page 2 of 2 PageID 655




COPIES FURNISHED TO:
Counsel of Record
U.S. Probation
Defendant Yonis Torres-Bello, pro-se




                                       -2-
